Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 1 of 14 PageID #: 1050




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Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 2 of 14 PageID #: 1051
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 3 of 14 PageID #: 1052
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 4 of 14 PageID #: 1053
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 5 of 14 PageID #: 1054
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 6 of 14 PageID #: 1055
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 7 of 14 PageID #: 1056
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 8 of 14 PageID #: 1057
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 9 of 14 PageID #: 1058
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 10 of 14 PageID #: 1059
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 11 of 14 PageID #: 1060
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 12 of 14 PageID #: 1061
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 13 of 14 PageID #: 1062
Case 4:17-cv-04123-LLP Document 47-13 Filed 08/03/18 Page 14 of 14 PageID #: 1063
